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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

KATIE D. MCCLARAN; ASHLEY
THOMAS; JENNIFER L. ROACH; and
JENNIFER L. SHARPE, on behalf of                C.A. No.: 3:14-cv-03884-MBS
themselves and all other similarly situated,

                              Plaintiffs,

       v.

CAROLINA ALE HOUSE OPERATING
COMPANY, LLC; LM RESTAURANTS,
INC.; and SULLIVAN MANAGEMENT LLC,

                              Defendants.


           MEMORANDUM OF LAW IN SUPPORT OF
     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
 SETTLEMENT, CERTIFICATION OF RULE 23 SETTLEMENT CLASS,
  CERTIFICATION OF FLSA SECTION 216(b) COLLECTION ACTION
  SETTLEMENT CLASS, AND NOTICE OF PROPOSED SETTLEMENT
TO CLASS MEMBERS AND CLASS ACTION SETTLEMENT PROCEDURE
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I.       INTRODUCTION

         Plaintiffs Katie D. McClaran (“McClaran”), Ashley Thomas (“Thomas”), Jennifer L.

Roach (“Roach”), and Jennifer L. Sharpe (“Sharpe”) individually and on behalf of all others

similarly situated, by their undersigned attorneys hereby submit their Motion for Preliminary

Approval of Settlement, Certification of the Rule 23 Settlement Class1 and the FLSA2 Section

216(b) Collective Action Settlement Class (collectively, the “Settlement Classes”), and Notice of

Proposed Settlement to Class Members pursuant to Fed. R. Civ. P. 23(e) and FLSA Section

216(b). Subject to Court approval, Plaintiffs – tipped service workers at restaurants owned,

operated or managed by Carolina Ale House Operating Company, LLC (“CAHOC”), LM

Restaurants, Inc. (“LM Restaurants”), and/or Sullivan Management LLC (“Sullivan

Management” and collectively with CAHOC and LM Restaurants “Carolina Ale House Entities”

or “Defendants”) – have settled this class and collective action for cash, credit, and policy

changes worth an estimated $2,930,000. The proposed settlement resolves Plaintiffs’ claims on a

class-wide basis and satisfies the criteria for preliminary settlement approval.

         In accordance with Fed. R. Civ. P. 23(a) and (b) and FLSA Section 216(b), Plaintiffs seek

certification of both a class and collective action for purposes of effectuating this settlement, and

pursuant to Rule 23(e) and Section 216(b), respectively, Plaintiffs seek Court approval of the

settlement as described below, together with proposed notice to the Plaintiff Settlement Class of

the terms thereof. Specifically, Plaintiffs respectfully request that the Court grant preliminary

approval of the proposed Settlement; certify the Settlement Classes and appoint Plaintiffs as

class representatives and Plaintiffs’ counsel as class counsel, for purposes of the Settlement;

1
  Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in
the Stipulation and Agreement of Settlement dated _____, 2015 (the “Settlement Agreement”),
attached as Exhibit 1 to Plaintiffs’ Motion for Preliminary Approval of Settlement.
2
    “FLSA” refers to the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq.


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approve the form and manner of providing notice of the Settlement to the Settlement Classes;

and enter the accompanying proposed Preliminary Approval Order.

        A.     The Parties

        Plaintiffs allege that Defendants are the corporate owners and/or operators of Carolina

Ale House restaurants as defined in the Settlement Agreement, which consists of the restaurants

in operation during the Covered Period located in South Carolina, North Carolina, Georgia,

Tennessee, and Texas (collectively, “Carolina Ale Restaurants”). Plaintiffs and proposed class

representatives McClaran, Thomas, Roach, and Sharpe work or worked as tipped servers and

bartenders for the Carolina Ale House Restaurants during the relevant time period. Specifically,

Plaintiffs McClaran, Roach, and Sharpe are current employees, and Plaintiff Thomas is a former

employee of the Carolina Ale House Restaurants.

        B.     History of the Litigation

        On October 3, 2014, Plaintiffs McClaran, Thomas, and Roach commenced this action as

a collective action under 29 U.S.C. § 201 et seq., bringing claims under the Fair Labor Standards

Act against CAHOC and LM Restaurants. Plaintiffs alleged that Defendants violated the FLSA

by (1) paying less than the minimum wage to Plaintiffs and other similarly situated employees

and then requiring them to pay a percentage of their tips to Defendants’ other employees who are

not employed in a job position that customarily and regularly receives tips; and (2) failing to

provide adequate oral or written notice of the requirements for a valid tip pool as required by the

FLSA.

        Defendants CAHOC and LM Restaurants filed answers to the original complaint on

November, 17, 2014, denying liability and asserting various affirmative defenses. On November

24, 2014, the Plaintiffs served interrogatories and requests for production on Defendants

CAHOC and LM Restaurants.          On December 8, 2014, Plaintiffs filed an Amended FLSA


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Collective Action Complaint adding Sharpe as a named plaintiff and corporate entity Sullivan

Management LLC as Defendant. Thereafter, Plaintiffs’ counsel filed notices of joinder and

consents to become party plaintiffs on behalf of eight individuals on December 12, 2014 and

another eight individuals on January 6, 2015.

       C.      Investigations, Informal Discovery, and Settlement Negotiations

       Prior to the deadline for filing a Federal Rule of Civil Procedure Rule 26(f) report, the

parties could not agree on a proposed scheduling order. In an effort to avoid protracted litigation

on a similar course, the parties agreed to extend the deadline for Defendants’ discovery

responses and to request an extension of the Rule 26(f) report deadline so that the parties could

exchange information relevant to the claims and defenses at issue and attempt to resolve the

litigation through a settlement conference ultimately set for January 13, 2015. Defendants

produced substantial documents and other relevant information prior to the January 13, 2015

settlement conference. Additionally, early on in the litigation, Plaintiffs had begun engaging

multiple private investigators to interview current and former employees of Carolina Ale House

Entities and observe first-hand the employment practices at issue in this case, and Plaintiffs

shared this information with Defendants.

       On January 13, 2015, the parties attended a settlement conference with John Cuttino, an

independent mediator with significant experience in employment matters, including wage-and-

hour collective and class actions. During the settlement conference, the parties exchanged

additional information supporting their respective positions on the relevant facts including video

recordings and sworn declarations. Also during the settlement conference, Plaintiffs’ counsel

discussed filing a second amended class action complaint to assert state-law claims and their

intention to promptly seek conditional collective action certification if a settlement could not be

reached.


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        The January 13, 2015 settlement conference lasted until 9:00 p.m. and failed to result in a

resolution; however, the parties agreed to continue negotiations. Subsequent to the settlement

conference’s conclusion, the parties continued to exchange relevant information and engage in

protracted arm’s length negotiations as the parties requested and received multiple extensions of

Court deadlines in the hopes that a settlement could be reached. Finally, on or about 8:43 p.m.

on Wednesday, February 11, 2015, the parties reached an agreement in principle to settle the

litigation.

        At all times, the parties’ negotiations were non-collusive and at arm’s length. In the

weeks after negotiating a settlement in principal and apprising the Court of the same, the parties

drafted and negotiated the details of a proposed final settlement agreement that includes all

terms. Taking into consideration the expense and length of the proceedings that would be

necessary to continue this lawsuit through trial and the uncertainty and risk of further litigation,

Plaintiffs and Plaintiffs’ Counsel have determined that the Settlement set forth in the Settlement

Agreement is fair, adequate, and reasonable, and is in the best interest of the Settlement Classes.

        D.     Second Amended Complaint

        As part of the Settlement Agreement, Defendants consented to Plaintiffs’ filing their

second Amended Class Action and FLSA Collective Action Complaint (the “Second Amended

Complaint”), which Plaintiffs are filing by written consent of Defendants pursuant to Fed. R.

Civ. P. 15(a)(2). In the Second Amended Complaint, Plaintiffs allege additional facts and assert

state-law claims on behalf of themselves and all others similarly situated pursuant to Fed. R. Civ.

P. 23, which provides for opt-out class participation. Like the original and first amended

complaints, the Second Amended Complaint also asserts claims for alleged violations of the

FLSA, the collective action provisions of which provide for opt-in class participation, pursuant




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to 29 U.S.C. § 216(b). The Settlement Agreement negotiated by the Parties contemplates a

hybrid Rule 23 / FLSA Section 216(b) settlement notice and administration.

II.      THE SETTLEMENT TERMS

         A.     The Settlement Fund and Claims Administrator Payment from Defendants

         The total settlement consideration of the claims resolved by this Settlement Agreement is

$2,930,000 inclusive of all payments and benefits to class members and attorneys’ fees and

costs, but not including the employers’ share of payroll taxes. Of this amount, the settlement

value consists of $2,917,500 as set forth below.

                1.     $1,167,500 Paid in Cash

         In consideration of the settlement of the released Plaintiffs’ claims against Defendants,

the Carolina Ale House Entities will pay $1,167,500 in cash to a Settlement Cash Fund in three

separate payments.     The first payment of $500,000 will be made into an escrow account

maintained by the claims administrator by the later of (i) five business days after the date of

entry by the Court of an order preliminarily approving this Settlement or (ii) July 1, 2015. By

the later of (i) five business days after preliminary approval of the settlement by the Court or (ii)

December 31, 2015, the Defendants will pay $500,000 into the escrow account. By the later of

(i) five business days after preliminary approval by the Court or (ii) April 1, 2016, Defendants

will pay the remaining $167,500 cash portion into the escrow account.

                2.     $750,000 Paid in Credit by Promotional Cards

         Defendants will issue Promotional Cards with an equal per capita share of $750,000

based on the number of class members. The credit on the Promotional Cards will be redeemable

for food and non-alcoholic beverages at Carolina Ale House Restaurants covered by this

settlement.




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               3.      $1,000,000 in Value Represented by Tip-Pool Policy Changes

       Pursuant to this settlement, the following changes to the tip-pool policies will be

implemented and maintained at all Carolina Ale House Restaurants for a two-year period at all

Carolina Ale House Restaurants covered by this settlement: (i) the percentage of gross sales to be

contributed to the tip pool will reduced from 3% to 2.5%, and (ii) expediters will not be included

as beneficiaries of the tip pool. Defendants represent that, based on gross sales for the past fiscal

year, the reduction in the percentage of gross sales from 3% to 2.5% for tip-pool contribution

represents approximately $1,000,000 in value across covered Carolina Ale House Restaurants

that will inure to the benefit of class members who are current employees. Defendants further

acknowledge that the commencement, prosecution, and settlement of the litigation was a material

and substantial factor in the Defendants’ decision to adopt, implement, and maintain these tip-

pool policy changes.

               4.      Settlement Claims Administrator Payment of $12,500

       Additionally, the Carolina Ale House Entities will pay $12,500 for the costs of notice and

settlement administration directly to the claims administrator. Following preliminary approval

by the Court, Defendants will pay the reasonable and actual notice and administration costs

incurred, up to $12,500, directly to the claims administrator when due.             Other than the

employers’ share of payroll and other taxes described in the Settlement Agreement, Defendants

will not be required to contribute more than $2,930,000.00 under its terms.

       B.      Release

       The settlement agreement provides that every class member who does not timely opt out

of the settlement will release Defendants from all wage and hour claims that were or that could

have been asserted in the Second Amended Complaint. Class members who redeem any portion

of the credit on their Promotional Card (which shall will have printed in conspicuous writing


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information including the following: “Recipient’s redemption of any portion of this card

constitutes recipient’s consent to class and Fair Labor Standards Act collective action

membership and release of all wage and hour claims approved by the court in McClaran et al. v.

Carolina Ale House Operating Company, LLC et. al., Civil Action No: 3:14-cv-03884-MBS

(D.S.C.)”) or who submit a Claim Form will be deemed also to have provided their consent to

join the FLSA collective and to release the FLSA claims that were or could have been brought in

the litigation.

        C.        Eligible Employees

        The eligible employees consist of all individuals who worked more than forty (40) hours

during the Covered Period – from October 3, 2012 until January 12, 2015 – and were paid less

than the minimum wage by means of a “tip credit” (servers, bartenders, food runners, and

expediters) at Carolina Ale House Restaurants (as defined in the Settlement Agreement, which

consists of the restaurants in operation during the Covered Period located in South Carolina,

North Carolina, Georgia, Tennessee, and Texas), in addition to any opt-in plaintiffs as of the

execution date of the Settlement Agreement that were employed prior to the beginning of this

period, except (obviously) those class members that opt out of the settlement. Additionally,

tipped employees that worked more than 80 hours during the same Covered Period and who file

claim forms approved by the claims administrator are also eligible for a pro rata share of the

remaining Net Settlement Fund based on the number of hours worked over and above 80 hours.

        D.        Allocation Formula

        Every class member that does not opt out of the settlement will be entitled to receive a

Promotional Card with an equal per capita share of the $750,000 paid in credit at Carolina Ale

House Entities via Promotional Cards (equal to $750,000 divided by the final number of class

members as determined by the claims administrator). As noted, tipped employees who worked


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more than 80 hours during the Covered Period will also be entitled to receive a pro rata portion

of the remaining Net Settlement Fund based upon the number of hours they worked over and

above 80 hours.

       The 40-hour threshold in the class definition and this section references the training

period for all employees at Carolina Ale House Restaurants. Per Defendants’ representations, no

tip credit was claimed during employees’ training period, which lasted for the first 40 hours of

employment, and additionally, tipped employees in training were not required to share the tips

they received. Accordingly, any Carolina Ale House Restaurant employee who worked less than

40 hours would not meet the criteria of a “tipped employee” of the proposed class definition. To

avoid any potential confusion as to the meaning of “tipped employee” and based on Defendants

certification of the facts referenced in this paragraph, Plaintiffs are incorporating the 40-hour

threshold in the class definition to determine eligible employees for the Settlement.

       Additionally, the 80-hour eligibility threshold for payment from the Net Settlement Fund

is based on the fact that those class members who worked for 80 hours or less in total – the first

40 hours of which would have been in training and the next 40 hours (or less) as tipped

employees – will be fully compensated by the credit received on the Promotional Card. Based

on the current estimate of the number of class members (3,550) (which estimate will not change

materially for purposed of this per capita calculation), each class member will receive

approximately $211.26 in credit for use at Carolina Ale House Restaurants on a Promotional

Card. Accordingly, those employees who worked as tipped employees for 40 hours or less (80

hours or less in total) will receive at least the full value of the tip credit under the FLSA ($5.12)

claimed for each hour they worked at a Carolina Ale House Restaurant. Accordingly, eligibility




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for an additional payment from the Net Settlement Fund is reserved for those Carolina Ale

House Restaurant employees who worked beyond the 80-hour mark.

       Employees who worked for more than 80 hours during the period October 3, 2012 to

January 12, 2015 – that is, employees who worked for more than 40 hours as a tipped employee

after completing the 40-hour training period as well – and who were paid less than the minimum

wage by means of a “tip credit” (that is, servers, bartenders, food runners, and expediters) at

Carolina Ale House Restaurants located in South Carolina, North Carolina, Georgia, Tennessee,

or Texas are also entitled to a cash distribution from the Net Settlement Fund upon submitting a

timely Claim Form that is approved by the Claims Administrator (the “Authorized Claimants”

under the Settlement Agreement).

       The Net Settlement Fund available for distribution to Authorized Claimants pursuant to

the Settlement will be at least $500,000. Each Authorized Claimant will be entitled to a pro rata

share of the Net Settlement Fund based on the hours he or she worked as a tipped employee over

and above 80 hours during the period October 3, 2012 to January 12, 2015. The amount each

Authorized Claimant receives will depend on the number of hours he or she worked as well as

the number of hours worked by other Authorized Claimants. Based on the current estimates as

to the number of hours worked over and above 80 hours by potential Authorized Claimants, the

pro rata payment could range from as low as $0.22 per hour (if 100% of eligible claimants file

acceptable Claim Forms) to as high as a median recovery of approximately $3.45 per hour (if

10% of eligible claimants with the median number of hours worked over 80 hours file acceptable

Claim Forms).

       E.       Attorneys’ Fees and Costs

       Plaintiffs’ counsel’s application for an award of attorneys’ fees and/or litigation expenses

is not the subject of any agreement between Defendants and Plaintiffs’ counsel other than what is


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set forth in the Settlement Agreement. Plaintiffs’ counsel’s request for attorneys’ fees and costs

will not exceed 22% of the Settlement Value and shall not exceed an amount that would reduce

the Net Settlement Fund available for distribution to class members below $500,000.

Defendants take no position on such application so long as Plaintiffs’ counsel does not apply for

fees and costs in excess of that amount. The Court need not rule on fees and costs now;

Plaintiffs’ counsel will file a motion for approval of fees and costs along with their motion for

final approval of the settlement. See Fed. R. Civ. P. 23(h) & 54(d)(2).

       F.      Incentive Payments

       In addition to their individual awards under the allocation formula, and subject to Court

approval, Plaintiffs McClaran, Thomas, Roach, and Sharpe will seek $2,500 each in recognition

of the services they rendered to the class (“Incentive Payments”). Their services included, but

were not limited to, stepping forward and informing counsel of the facts initially and as the case

progressed, subjecting themselves to potential retaliation for doing so, informing putative class

members of the lawsuit, participating in litigation strategy, and reviewing and commenting on

the terms of the settlement. Plaintiffs will move for Court approval of the Incentive Payments

simultaneously with their motion for final approval of the settlement. Pursuant to the Settlement

Agreement, Defendants have agreed not to contest such application.

       G.      Settlement Claims Administration

       The claims administrator will be responsible for mailing out the Summary Notice to class

members; mailing out Promotional Cards in accordance with the settlement terms; (unless

handled by Plaintiffs’ counsel) maintaining a website where relevant documents are posted,

including the long-form notice and proof of claim form, the Second Amended Complaint, and

once filed, the application for attorneys’ fees and expenses and motion for final approval of

settlement and supporting documents; following up on any undeliverable claim forms, including


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making reasonable attempts to locate class members where the first notice is returned as

undeliverable at the address provided; responding to class members’ inquiries; collecting claim

forms form class members; and calculating class members’ settlement payments based on data

provided by Carolina Ale House Entities and the claim forms submitted by class members. The

claims administrator will also maintain an escrow account for the purposes of receiving funds

from Defendants, issuing the checks to Plaintiffs, Plaintiffs’ counsel, and class members. The

claims administrator will also make any and all necessary tax deductions and perform all

necessary tax reporting and tax paying obligations, with the exception of any and all applicable

employer tax contributions associated with wage payments, which shall be paid by Defendants

based on calculations from the claims administrator.

III.   THE SETTLEMENT WARRANTS PRELIMINARY APPROVAL

       A.      Legal Standards for Preliminary Approval

       Under Rule 23(e) of the Federal Rules of Civil Procedure, judicial review of a proposed

class action settlement consists of a two-step process: preliminary approval and a subsequent

settlement fairness hearing. MANUAL FOR COMPLEX LITIGATION (FOURTH) (“MCL”) § 13.14 at

171.   Given this two-step process, the Court is not required to undertake an in-depth

consideration of the relevant factors for final approval at this stage of the proceedings. See

Horton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 855 F. Supp. 825, 827 (E.D.N.C. 1994).

Instead, the Court “must make a preliminary determination on the fairness, reasonableness, and

adequacy of the settlement terms and must direct the preparation of notice of the certification,

proposed settlement, and date of the final fairness hearing.” MCL § 21.632. As part of this first

preliminary step, the Court determines “whether the proposed settlement is ‘within the range of

possible approval’ or, in other words, whether there is ‘probable cause’ to notify the class of the




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proposed settlement.” Horton, 855 F. Supp. at 827 (quoting Armstrong v. Bd. of Sch. Directors

of City of Milwaukee, 616 F.2d 305, 314 & n.13 (7th Cir. 1980)).

       Although “the Fourth Circuit has not directly addressed the factors to consider in

determining whether an [FLSA class settlement] . . . is fair and reasonable, various federal courts

have analogized to the fairness factors generally considered for court approval of class action

settlements” under Rule 23(e).      Lomascolo v. Parsons Brinkerhoff, Inc., No. 1:08cv1310

(AJT/JFA), 2009 WL 3094955, at *11 (E.D. Va. Sept. 28, 2009). Indeed, courts in such

circumstances regularly employ a multi-step analysis similar to the two-step approach for

preliminary approval of class action settlements. See Duprey v. Scotts Co. LLC, 30 F. Supp. 3d

404, 408 (D. Md. 2014). As part of that approach, courts first determine whether there is a

“bona fide dispute” over FLSA issues before “determining the fairness and reasonableness of the

settlement in light of the relevant factors from Rule 23.” Id. Much like the first preliminary step

of the Rule 23(e) process, “[i]n deciding whether a bona fide dispute exists as to a defendant’s

liability under the FLSA, courts examine the pleadings in the case, along with the representations

and recitals in the proposed settlement agreement.” Id.

       The Settlement reached in this matter is easily ‘within the range of possible approval’ and

clearly satisfies the ‘probable cause’ test for notifying the class of the proposed settlement under

Rule 23(e) and, for the same reasons, likewise represents the resolution of a “bona fide dispute”

of the FLSA. Indeed, the Settlement reached in this matter is a fair, reasonable, and adequate

resolution of the state-law and FLSA claims asserted in this class and collective action for the

reasons that follow.




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         B.      The Substantial Benefits for the Settlement Classes, Weighed Against
                 Litigation Risks, Strongly Supports Preliminary Approval

         The benefits achieved for the Settlement Classes through this Settlement are substantial,

particularly in light of the significant obstacles to recovery under both the state-law and FLSA

claims. While Plaintiffs believe that the claims have substantial merit, they involve complicated

issues, and Plaintiffs and the Settlement Classes faced significant risk in establishing liability.

For example, Defendants have maintained throughout the litigation that the expediter position is

not a separate and distinct job position from the food runner position at Carolina Ale House

Restaurants.     If proved at trial that the expediter job position was in truth a joint food

runner/expediter position such that the food runner/expediter ordinarily and regularly interacted

with customers, that fact would undermine Plaintiffs’ state-law and FLSA claims.

         In support of their contention that Plaintiffs’ claims lacked merit, Defendants pointed to

the fact that the expediters and food runners wear the same uniform, are trained in the same way,

and are subject to the same training policies and procedures.             Also in support of these

contentions,     Defendants    obtained   declarations    from   15    employees,     including   food

runners/expediters, expediter corporate trainers, servers, and managers at the Carolina Ale

House–Harbison location, where Plaintiffs McClaran, Thomas, and Roach are employed. Each

of these declarations stated that the expediters at issue also served as food runners and had

customary and regular customer interaction, and all but one of the declarants were potential opt-

in plaintiffs.   At mediation, Defendants also presented surveillance video to support their

assertions that expediters ran food to customers and to demonstrate that they were trained to do

so.

         Countering these assertions, Plaintiffs presented the results of their investigations into the

policies and practices at Carolina Ale House Restaurants across the southeast. Plaintiffs retained



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an investigative firm early on in the litigation to investigate the employment practices and

expediter job responsibilities at Carolina Ale House Restaurants, and the results of that

investigation showed that the policies and procedures with respect to tip sharing with expediters

as well as the separate and distinct job responsibilities of that position validated Plaintiffs’

claims. At mediation, Plaintiffs tendered to Defendants a declaration from the lead investigator

to that effect as well as the declaration of a separate investigator who interviewed employees and

made video recordings at different Carolina Ale House Restaurants. These recordings showed

the expediters in action and supported Plaintiffs’ contentions as to their utter lack of customer

interaction.   Additionally, Plaintiffs provided Defendants with a declaration from a former

manager at the Carolina Ale House in Favetteville, North Carolina that supported Plaintiffs

assertion of the facts in this regard, and Plaintiffs also pointed to the separate job descriptions

and applications for food runners and expediters on LM Restaurants’ corporate website.

       In addition to these sharply divided positions on the merits, Defendants and Plaintiffs had

starkly different ideas on the amount and recoverability of damages and the associated

complexities of proof at trial. In this regard, Defendants asserted that Plaintiffs’ estimation of

damages were grossly inflated, even assuming liability, because the opt-in rates for FLSA

collective actions average between 10 to 20 percent and because Defendants believed the opt-in

rate for this case may be below 10 percent based on the limited number of opt-ins so far,

particularly relative to the number of declarations Defendants secured from servers and

bartenders disputing key allegations at issue. Moreover, Defendants argued that the appropriate

examination of damages should proceed on a shift-by-shift basis based on the limited existing

case law available, and because expediters were not employed on every shift, determining the

potential damages could require multiple trials and result in a sum totaling a fraction of




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Plaintiffs’ estimation. Additionally, Defendants asserted that different restaurants had different

practices in this regard, which would add complexities to proof at trial. Plaintiffs countered that

there had been no notice or any other outreach effort to potential opt-in plaintiffs thus far and

asserted Plaintiffs belief that the opt-in rates would be substantially higher than Defendants’

estimations. Plaintiffs also advocated that a workweek-by-workweek analysis would be more

appropriate based on the Department of Labor’s application of the FLSA.

       Particularly in light of the complexity, length, and uncertainty presented by further

litigation in this matter, the Settlement achieved represents a significant benefit to members of

the Settlement Classes. As discussed, all members of the Settlement Classes will be entitled to

receive a Promotional Card with an amount of credit equal to a per capita share of $750,000

based on the number of Settlement Class Members. Based on current figures received from the

Defendants, the members of the Settlement Classes include 3,550 individuals, and accordingly,

each will receive approximately $211 in credit on a Promotional Card via this Settlement.

Additionally, members of the Settlement Classes who worked more than 80 hours will also be

eligible to receive a pro rata share of the Net Settlement Fund based on the number of hours

worked over and above 80 hours.3 Finally, as discussed above, members of the Settlement

Classes who are current employees of the Carolina Ale House Restaurants will also receive the

benefit of policy changes to the tip-pool procedures, which will last for a minimum of two years.

Pursuant to these policy changes, the required tip-pool contribution of tipped employees at

Carolina Ale House Restaurants will be reduced from 3% to 2.5%, and expediters will be

prohibited from participating in the tip pool. Defendants represent that the estimated value of

3
  As noted, the 80-hour threshold was determined based on the fact that members of the
Settlement Classes who worked for 80 hours or less will be compensated at a rate of at least
$5.28 per hour for each hour worked as a tipped employee (that is, for each hour worked after
their training period, which lasted for the first 40 hours of employment).


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this policy change for the benefit of its tipped employees is $1 million based on the most recent

fiscal-year sales data across the Carolina Ale House Restaurants.

       Particularly in light of the risk, complexity, and potential duration of continued litigation,

the Settlement Consideration – worth an estimated total of $2,930,000 with the inclusion of

claims-administration expenses to be paid by Defendants – represents a substantial benefit to the

Settlement Classes. Accordingly, the Settlement represents a fair, reasonable, and adequate

resolution of state-law and FLSA claims that are a subject of bona fide dispute between the

parties, and therefore, the Settlement Agreement should be preliminarily approved and notice

sent to members of the Settlement Classes.

       C.      The Settlement Is the Result of Arm’s-Length Negotiations by Well-
               Informed and Experienced Counsel, and Plaintiffs Support the Settlement

       In evaluating a proposed class action settlement, “‘a presumption of fairness exists

where: (1) the settlement is reached through arm’s-length bargaining; (2) investigation and

discovery are sufficient to allow counsel and the court to act intelligently; (3) counsel is

experienced in similar litigation; and (4) the percentage of objectors is small.’” Brunson v.

Louisiana-Pac. Corp., 818 F. Supp. 2d 922, 927 (D.S.C. 2011) (quoting 3 ALBA CONTE &

HERBERT B. NEWBERG, NEWBERG ON CLASS ACTIONS (3d ed. 1992) § 11.41).

       Here, the Settlement was achieved only after protracted arm’s-length negotiations and a

thorough investigation of the merits of Plaintiffs claims, feasibility of their proof, and the likely

availability of damages. Mot. for Prelim. Approval of Settlement (Apr. 3, 2015), Ex. 1, at 2-3

(“Settlement Agreement”); Declaration of James Mixon Griffin in Support of Mot. for Prelim.

Approval of Settlement (Apr. 3, 2015) ¶¶ 10-12 (“Griffin Decl.”).             As discussed below,

Plaintiffs’ counsel have substantial experience litigating complex class actions and are well-

versed in employment law and wage-and-hour claims under federal and state law. Griffin Decl.



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¶¶ 4-7. Additionally, Plaintiffs’ counsel have conferred with Plaintiffs throughout the litigation

and the negotiation process. Acting as putative class representatives and aware of the strengths

and weaknesses of their claims, Plaintiffs unanimously support the Settlement achieved.

       Accordingly, the Settlement is entitled to the presumption of fairness, particularly in light

of the other factors already discussed, and should be preliminary approved and notice ordered to

the Settlement Classes.

IV.    THE RULE 23 SETTLEMENT CLASS
       SHOULD BE CERTIFIED FOR SETTLMENT PURPOSES

       In granting preliminary approval, the Court should also certify the Rule 23 Settlement

Class for purposes of the Settlement under Rules 23(a) and 23(b)(3) of the Federal Rules of Civil

Procedure. For settlement purposes only, the parties agree and submit that the following Rule 23

Settlement Class should be certified:

       All individuals who worked more than forty (40) hours during the period October
       3, 2012 to January 12, 2015 and were paid less than the minimum wage by means
       of a “tip credit” (that is, servers, bartenders, food runners, and expediters) at
       Carolina Ale House Restaurants located in South Carolina, North Carolina,
       Georgia, Tennessee, or Texas, in addition to any Opt-In Plaintiffs as of the
       execution date of the Settlement Agreement that were employed prior to this
       period.

Settlement Agreement ¶ 1(hh).

       The proposed Rule 23 Settlement Class satisfies Rule 23(a)’s requirements of

numerosity, commonality, typicality, and adequacy of representation, and at least one of the

subsections of Rule 23(b), and Defendants do not oppose conditional certification for settlement

purposes. See 4 HERBERT B. NEWBERG & ALBA CONTE, NEWBERG ON CLASS ACTIONS § 11.27

(4th ed. 2002) (“When the court has not yet entered a formal order determining that the action

may be maintained as a class action, the parties may stipulate that it be maintained as a class

action for the purpose of settlement only.”). Conditional settlement approval, class certification,



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and appointment of class counsel have practical purposes, including avoiding the costs of

litigating class status while facilitating a global settlement, ensuring that all class members are

notified of the terms of the proposed settlement, and setting the date and time of the final

approval hearing. See In re Gen. Motors Corp. Pick-up Truck Fuel Tank Prod. Liab. Litig., 55

F.3d 768, 784, 791 (3d Cir. 1995).

       Under Rule 23, a class action may be maintained if all of the requirements of Rule 23(a)

are met, as well as one of the requirements of Rule 23(b). Rule 23(a) requires that (1) the class is

so numerous that joinder of all members is impracticable; (2) there are questions of law or fact

common to the class; (3) the claims or defenses of the representative parties are typical of the

claims or defenses of the class; and (4) the representative parties will fairly and adequately

protect the interests of the class. Fed. R. Civ. P. 23(a). Rule 23(b)(3) requires the court to find

(1) that questions of law or fact common to the members of the class predominate over any

questions affecting only individual members and (2) that a class action is superior to other

available methods for the fair and efficient adjudication of the controversy. Fed. R. Civ. P.

23(b)(3). Federal Rule of Civil Procedure 23 should be liberally construed and flexibly applied

to promote judicial efficiency and best serve the ends of justice. Gunnells v. Healthplan Servs.,

Inc., 348 F.3d 417, 424 (4th Cir. 2003).

       A.      Numerosity

       Numerosity is satisfied when the class is “so numerous that joinder of all members is

impracticable.”   Fed. R. Civ. P. 23(a)(1).     Fourth Circuit precedent “has recognized class

certification in classes with as few as eighteen members and that a class of as few as twenty-five

to thirty members raises a presumption that joinder would be impracticable.” Rodger v. Elec.

Data Sys. Corp., 160 F.R.D. 532, 535-36 (E.D.N.C. 1995).              Plaintiffs easily satisfy the




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numerosity requirement – there are over 3,500 class members according to Defendants’ records.

Griffin Decl. ¶ 13.

       B.       Commonality

       The commonality requirement of Rule 23(a)(2) does not require that all, or even most,

issues be common, but only that common issues exist. Central Wesleyan Coll. v. W.R. Grace &

Co., 143 F.R.D. 628, 636 (D.S.C. 1992), aff’d, 6 F.3d 177 (4th Cir. 1993); Holsey v. Amour &

Co., 743 F.2d 199, 216-17 (4th Cir. 1984). “It is enough for a lawsuit to raise questions that are

substantially related to the resolution of the case and that link the class members together, even

though the individuals themselves are not identically situated.” Ganesh, L.L.C. v. Computer

Learning Ctrs, Inc., 183 F.R.D. 487, 489 (E.D. Va. 1998). Thus, factual differences among the

Class members’ claims will not preclude certification if the claims share the same legal theory.

Brown v. Eckerd Drugs, Inc., 663 F.2d 1268, 1275 (4th Cir. 1981), vacated on other grounds,

457 U.S. 1128 (1982).

       This case involves several common factual and legal issues, including whether

Defendants breached the identical contractual terms of employment or were otherwise unjustly

enriched by requiring Plaintiffs and other members of the Rule 23 Settlement Class to pay their

overhead expenses by requiring a portion of their tips to be paid to other employees who did not

receive tips.   These alleged claims of breach of express or implied contractual terms of

employment – involving common operative facts stemming from corporate policies that affected

class members in the same way – are sufficient to meet Rule 23(a)’s commonality factor. See

Chisolm v. TranSouth Fin. Corp., 194 F.R.D. 538, 559 (E.D. Va. 2000) (“[C]ourts have

consistently found a common nucleus of operative facts when the defendants are alleged to have

directed standardized conduct toward the putative class members, or where the class claims arise

out of standard documents.”) (internal quotations omitted); see also Reyes v. Autamarea Grp.,


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LLC, No. 10 Civ 6451 (RLE), 2011 WL 4599773, at *2 (S.D.N.Y. June 3, 2011) (finding

commonality satisfied where restaurant workers raised tip misappropriation, spread of hours, and

uniform claims).

       C.     Typicality

       Typicality is also satisfied. Under Rule 23(a)(3), a proposed class representative must

show that “the claims or defenses of the representative parties are typical of the claims or

defenses of the class.”    Fed. R. Civ. P. 23(a)(3).    The Supreme Court has noted that the

“commonality and typicality requirements of Rule 23(a) tend to merge,” General Tel. Co. of the

Southwest v. Falcon, 457 U.S. 147, 157 n.13 (1982), and like Rule 23(b)(3)’s commonality

requirement, Rule 23(a)(3) typicality does not require identical claims or defenses, In re

Southeast Hotel Props. Ltd. P’ship Investor Litig., 151 F.R.D. 597, 605 (W.D.N.C. 1993).

Typicality exists if Plaintiffs’ claims arise from the same course of conduct giving rise to the

claims of the other class members and are based on the same legal theory. Simpson v. Specialty

Retail Concepts, 149 F.R.D. 94, 99 (M.D.N.C. 1993). Here, Plaintiffs’ claims arise from the

same factual and legal circumstances that form the bases of class members’ claims, namely, that

Defendants violated the same express and implied terms of Plaintiffs’ employment, which terms

they shared with other members of the class. See deMunecas v. Bold Food, LLC, No. 09 Civ.

00440(DAB), 2010 WL 2399345, at *2 (S.D.N.Y. Apr. 19, 2010) (holding that typicality is

satisfied where plaintiffs and class members suffered same injury as a result of defendants’ tip

allocation and other wage and hour policies). Additionally, the proposed class representatives

include current and former Carolina Ale House Restaurant employees. Plaintiffs McClaran,

Roach, and Sharpe are current tipped employees, and Plaintiff Thomas is a former tipped

employee of Carolina Ale House Restaurants.




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       D.      Adequacy of the Named Plaintiffs

       Rule 23(a)(4) requires Plaintiffs to demonstrate that they will fairly and adequately

protect the interests of every putative claimant by showing that they have no interests that are

antagonistic to other class members and that they are competent to undertake the case. Ganesh,

183 F.R.D. at 490. This Court has held that “[t]he adequacy of Plaintiff’s counsel, like that of

the individual Plaintiff, is presumed in the absence of specific proof to the contrary.” South

Carolina Nat’l Bank v. Stone, 139 F.R.D. 325, 330-31 (D.S.C. 1991) (citing Falcon v. Gen. Tel.

Co. of the Southwest, 626 F.2d 369, 376 n.8 (5th Cir. 1980), vacated on other grounds, 450 U.S.

1036 (1981)). Here, the Plaintiffs’ interests are directly aligned with the interests of absent class

members, thus satisfying the first prong of the test. See, e.g., Second Am. Compl. ¶¶ 14-15;

Griffin Decl. ¶ 13. Plaintiffs and each class member have been damaged by the same alleged

conduct, and each has precisely the same interest in achieving the maximum possible recovery.

Id. Furthermore, Plaintiffs McClaran, Thomas, Roach, and Sharpe have indicated that they will

protect the interests of the class and rigorously prosecute this action on behalf of the class, and

they have retained counsel that have extensive experience in complex class action proceedings

and a reputation for tenaciously prosecuting such actions. . Id. Thus, the two-fold standard of

Rule 23(a)(4) is satisfied.

       E.      Certification is Proper Under Rule 23(b)(3)

       Plaintiffs seek certification under Rule 23(b)(3). Therefore, in addition to satisfying the

foregoing requirements, Plaintiffs must also show “that the questions of law or fact common to

the members of the class predominate over any questions affecting only individual members, and

that a class action is superior to other available methods for the fair and efficient adjudication of

the controversy.” Fed. R. Civ. P. 23(b)(3). Generally, common questions of law or fact are held

to predominate if they represent a significant aspect of the case and can be resolved for all class


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members in a single adjudication. See Haywood v. Barnes, 109 F.R.D. 568, 581 (E.D.N.C.

1986); 7AA CHARLES A. WRIGHT ET AL., FEDERAL PRACTICE & PROCEDURE § 1778, at 121 (3d

ed. 2005).    The common questions need not be dispositive of the entire litigation – this

subsection requires only that the common questions of law and fact outweigh the individual

questions. Chisolm v. TranSouth Fin. Corp., 184 F.R.D. 556, 565 (E.D. Va. 1999). The other

relevant consideration is whether a class action is superior to other ways of reaching a fair and

efficient resolution of the controversy. Ganesh, 183 F.R.D. at 491. “The goal is to ensure that

class certification occurs only when economy and efficiency are reasonably likely to result, and

in a way that fairly weighs the competing interests of the parties.” Id. These two factors are

satisfied in this case.

                1.        Common Questions of Law and Fact Predominate

        The common questions previously discussed overwhelmingly predominate over any

differing circumstances of individual claims because the central issues involve breach of

identical express and implied terms of employment. Because of Defendant’s common course of

conduct as to the class members, Plaintiffs will establish Defendant’s liability for all class

members to the extent they can prove it for their individual claims. Where “common questions

predominate over individual questions as to liability, courts generally find the predominance

standard of Rule 23(b)(3) to be satisfied.” Gunnells, 348 F.3d at 428 (internal quotations

omitted); see also Southeast Hotel Props., 151 F.R.D. at 603-05. Accordingly, this case easily

satisfies the Rule 23(b)(3) predominance test.

                2.        A Class Action Is a Superior Mechanism

        Rule 23(b)(3)’s second part analyzes whether “a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). In

determining whether “superiority” under Rule 23(b)(3) is satisfied, pertinent factors include the


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following: (a) the interest of members of the class in individually controlling separate actions, (b)

the extent and nature of any related litigation already commenced by class members; and (c) the

desirability of concentrating the litigation of the claims in the particular forum.4 Id.

       Each of these factors supports class certification in this case. Individual actions would be

prohibitively expensive in the most cases, and relying solely on the collective action mechanism

for both the FLSA claims and the state-law claims asserted would leave the vast majority without

a remedy for either. Indeed, the Supreme Court has recognized that “[c]lass actions also may

permit the [Plaintiffs] to pool claims which would be uneconomical to litigate individually ...

[because] most of the plaintiffs would have no realistic day in court if a class action were not

available.” Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 809 (1985); see also Mills v.

Roanoke Indus. Loan & Thrift, 70 F.R.D. 448, 455 (W.D. Va. 1975).

       Even if possible to litigate as individual actions, the resulting burden on the courts would

be substantial, particularly whereas here, the relevant restaurants are located in multiple states.

Accordingly, concentrating the litigation of the claims in this forum is desirable for both the

members of the Rule 23 Settlement Class and the federal courts that could be burdened with

hearing individual matters. Moreover, to the best of the parties’ knowledge, no members of the

Rule 23 Settlement Class have commenced related litigation in this or any other forum.

Accordingly, the certification of the Rule 23 Settlement Class is a superior means for fairly and

efficiently adjudicating the controversy under Rule 23(b)(3).


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  Another factor, whether the case would be manageable as a class action at trial, is not of
consequence in the context of a proposed settlement. See Amchem, 521 U.S. at 620 (noting that
“[c]onfronted with a request for settlement-only class certification, a [trial] court need not inquire
whether the case, if tried, would present intractable management problems, . . . for the proposal
is that there be no trial”) (internal citation omitted); Frank v. Eastman Kodak Co., 228 F.R.D.
174, 183 (W.D.N.Y. 2005) (“The court need not consider the [manageability] factor, however,
when the class is being certified solely for the purpose of settlement.”).


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V.      THE FLSA SECTION 216(b) COLLECTIVE ACTION SETTLMENT CLASS
        SHOULD BE CERTIFIED FOR SETTLEMENT PURPOSES

        As set forth above, this lawsuit involves a bona fide dispute as to the FLSA claims

asserted, which may be prosecuted as an opt-in collective action under Section 216(b) of the

FLSA. With Defendants’ consent for settlement purposes only, Plaintiffs respectfully request

that the Court conditionally certify the FLSA Section 216(b) Collective Action Settlement Class

with the same class definition as the Rule 23 Settlement Class:

        All individuals who worked more than forty (40) hours during the period October
        3, 2012 to January 12, 2015 and were paid less than the minimum wage by means
        of a “tip credit” (that is, servers, bartenders, food runners, and expediters) at
        Carolina Ale House Restaurants as defined in the Settlement Agreement located
        in South Carolina, North Carolina, Georgia, Tennessee, or Texas, in addition to
        any Opt-In Plaintiffs as of the execution date of the Settlement Agreement that
        were employed prior to this period.

Settlement Agreement ¶ 1(t).

        Plaintiffs submit that certification of collective action settlement class under the FLSA is

appropriate because Plaintiffs are similarly situated to the individuals on whose behalf they

purport to bring this action. See Rawls v. Augustine Home Health Care, Inc., 244 F.R.D. 298,

300 (D. Md. 2007). Similar to the commonality and predominance factors of Rules 23(a) and

23(b)(3), courts have considered three factors in reaching a final determination as to class

certification under Section 216(b): “‘(1) the disparate factual and employment settings of the

individual plaintiffs; (2) the various defenses available to defendant which appear to be

individual to each plaintiff; and (3) fairness and procedural considerations.’”        Id. (quoting

Thiessen v. Gen. Elec. Capital Corp., 996 F. Supp. 1071, 1081 (D. Kan. 1998)).

        For the same reasons already discussed as to the predominance of common questions of

fact and law for Rule 23 certification, a final determination of class certification under Section

216(b) of the FLSA is appropriate. See id. As noted above, Plaintiffs McClaran, Roach, and



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Sharpe currently work as tipped employees at Carolina Ale House Restaurants, and Plaintiff

Thomas used to work as a tipped employee for Defendants. All have been subject to the

identical policy of having to pay a portion of their tips to the expediter working their same shift

calculated as a percentage of gross sales during that shift. As alleged in the original complaint

and maintained by Plaintiffs thereafter, the expediters at the Carolina Ale House Restaurants did

not have ordinary and regular customer interaction and, therefore, did not customarily and

regularly receive tips. Accordingly, their participation in the tip pool invalidated it and the tip

credit Defendants claimed under the FLSA with respect to the wages paid to each of the

Plaintiffs and all other tipped employees at Carolina Ale House Restaurants that are similarly

situated to Plaintiffs with respect to these claims because of Defendants’ application of uniform

policies. Accordingly, certification of the FLSA Section 216(b) Collective Action Settlement

Class is appropriate.

       In a case presenting a bona fide dispute under the FLSA, the parties may submit a

proposed settlement for review and approval by the court and entry of a stipulated judgment

along with a Rule 23 class action settlement of state-law claims. See Ervin v. OS Restaurant

Serv., Inc., 632 F.3d 971 (7th Cir. 2011) (allowing “combined” Rule 23 and FLSA collective

actions); Lynn’s Food Stores, Inc. v. U.S. By and Through U.S. Dept. of Lab., Empl. Standards

Admin., Wage and Hour Div., 679 F.2d 1350, 1353 (11th Cir. 1982) (allowing a hybrid Rule 23

and FLSA collective action settlement); see also Butler v. DirectSat USA, LLC, 800 F. Supp. 2d

662, 676 (D. Md. 2011) (concluding, over defendants’ objections, that “Plaintiffs’ collective and

class actions claims are not incompatible”). Therefore, the Court should certify the FLSA

Section 216(b) Collective Action Settlement Class as well as the Rule 23 Settlement Class for

purposes of the Settlement pursuant to the Settlement Agreement between the parties.




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VI.    PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED AS CLASS COUNSEL

       Plaintiffs respectfully request that the Court appoint Lewis, Babcock & Griffin, L.L.P.

(“LBG”) and Law Office of Todd Ellis, P.A. (“Ellis”) as Class Counsel. Rule 23(g) governs the

appointment of class counsel for certified Rule 23(b)(3) class actions as well as collective actions

under Section 216(b) of the FLSA. See Fed. R. Civ. P. 23(g)(1) (providing that “[u]nless a

statute provides otherwise, which the FLSA does not, “a court that certifies a class must appoint

class counsel”). Rule 23(g)(1)(A) sets forth four criteria courts must consider in evaluating the

adequacy of proposed counsel: (1) the work counsel has done in identifying or investigating

potential claims in the action; (2) counsel’s experience in handling class actions and claims of

the type asserted in the action; (3) counsel’s knowledge of the applicable law; and (4) the

resources counsel will commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A). Plaintiffs’

counsel meet all relevant criteria.       They did substantial work identifying, investigating,

prosecuting, and settling the claims; have substantial experience prosecuting and settling

complex class actions; are well-versed in employment and wage-and-hour law; and are well-

qualified to represent the interests of the class. Griffin Decl. ¶¶ 4-7.

VII. THE PROPOSED NOTICE TO THE SETTLEMENT CLASSES SHOULD BE
     APPROVED

       Pursuant to Rule 23(c)(2)(B), the notice to the Settlement Classes must be the “best

notice that is practical under the circumstances” and must “concisely and clearly state in plain,

easily understood language” the following: “(i) the nature of the action; (ii) the definition of the

class certified; (iii) the class claims, issues, or defenses; (iv) that a class member may enter an

appearance through counsel if the member so desires; (v) that the court will exclude from the

class any member who requests exclusion; (vi) the time and manner for requesting exclusion;

and (vii) the binding effect of a class judgment on members under Rule 23(c)(3).” Fed. R. Civ.



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P. 23(c)(2)(B). Additionally, Rule 23(e)(1) governs notice of settlement. Fed. R. Civ. P.

23(e)(1). While Rule 23(e)(1) does not spell out the required contents of the settlement notice, it

must “‘fairly apprise the prospective members of the class of the terms of the proposed

settlement and of the options that are open to them in connection with [the] proceedings.’”

Beaulieu v. EQ Indus. Servs., Inc., No. 5:06-CV-00400BR, 2009 WL 2208131, at *28 (E.D.N.C.

July 22, 2009) (quoting Grunin v. Int’l House of Pancakes, 513 F.2d 114, 122 (8th Cir.1975)).

       As outlined in the proposed Preliminary Approval Order, Plaintiffs’ Counsel will notify

Settlement Class members of the pendency of the Action and the proposed Settlement by causing

the Notice to be mailed to all members of the Settlement Classes who can be identified with

reasonable effort within 21 days of the Court’s entry of an order preliminary approving the

Settlement. Thereafter, claims administrator will take all reasonable steps to obtain the correct

address of any Settlement Class members for whom notices are returned as undeliverable.

Within 21 days of the preliminary approval order if not before, the claims administrator will post

the Notice and Claim Form and other documents related to the settlement on a website that the

Claims Administrator or Plaintiffs’ Counsel will maintain and update with additional relevant

filings. The Notice will advise Settlement Class Members of (i) the pendency of the Action as a

class action; (ii) the essential terms of the Settlement; (iii) the proposed Plan of Allocation; and

(iv) information regarding Plaintiffs’ Counsel’s motion for attorneys’ fees and reimbursement of

Litigation Expenses. The Notice will also provide specifics on the date, time, and place of the

Settlement Hearing and set forth the procedures, as well as deadlines, for opting out of the

Settlement Classes, for objecting to the Settlement, the proposed Plan of Allocation and/or the

motion for attorneys’ fees and reimbursement of litigation expenses, and for submitting a Claim




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Form. Plaintiffs’ Counsel will also cause a copy of the Notice and Claim Form to be available

on the settlement website.

       The form and manner of providing notice to the Settlement Classes satisfy the

requirements of due process and Rule 23, and the Notice and Summary Notice “‘fairly apprise

the prospective members of the class of the terms of the proposed settlement and of the options

that are open to them in connection with [the] proceedings.’” Beaulieu, 2009 WL 2208131, at

*28 (quoting Grunin, 513 F.2d at 122. Accordingly, Plaintiffs respectfully request that the Court

approve the proposed form and manner of notice.

VIII. PROPOSED SCHEDULE

       In connection with preliminary approval of the Settlement, the Court must set a final

approval hearing date, dates for mailing and publication of the Summary Notice, and deadlines

for submitting claims or for objecting to the Settlement.5 The Parties respectfully propose the

following schedule for the Court’s consideration, as agreed to by the Parties and set forth in the

proposed Preliminary Approval Order:

                       Event                            Time for Compliance
      Deadline for mailing the Summary          28 calendar days after entry of the
      Notice to the members of the              Preliminary Approval Order
      Settlement Classes and posting the
      Notice and Claim Form on the website
      for the Settlement maintained by the
      Claims Administrator
      Deadline for mailing the Promotional      63 calendar days after entry of the
      Card and reminder of deadlines to         Preliminary Approval Order
      members of the Settlement Classes
      Filing of papers in support of final      35 calendar days before the Settlement
      approval of the Settlement, the Plan of   Hearing
      Allocation, and Plaintiffs’ Counsel’s
      fee and expense request

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  The blanks for certain deadlines currently contained in the agreed-upon form of Notice will be
filled in once the Court sets those dates and prior to mailing to Settlement Class Members.


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      Receipt deadline for objections and       21 calendar days before the Settlement
      requests for exclusion from the           Hearing
      Settlement Classes
      Filing of reply papers in support of      7 calendar days before the Settlement
      final approval of the Settlement and      Hearing
      Plaintiffs’ Counsel’s fee and expense
      request
      Settlement Fairness Hearing               The week of July 13, 2015 or at the
                                                Court’s earliest convenience thereafter
      Deadline for submitting Claim Forms       120 calendar days after the Notice Date

IX.    CONCLUSION

       For all the foregoing reasons, Plaintiffs respectfully request that the Court grant

preliminary approval of the proposed Settlement; certify the Settlement Classes and appoint

Plaintiffs as class representatives and Plaintiffs’ Counsel as class counsel, for purposes of the

Settlement; approve the form and manner of providing notice of the Settlement to the Settlement

Classes; and enter the accompanying proposed Preliminary Approval Order.


                                                    Respectfully submitted,


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